518 F.2d 696
    Craig M. KOEHLER, an Individual, et al., Appellants,v.MARCONA MINING COMPANY, a Nevada Corporation, Appellee.Ismael COBIAN, Appellant,v.MARCONA MINING COMPANY, a Nevada Corporation, et al., Appellees.
    Nos. 73-3441, 74-1042.
    United States Court of Appeals,Ninth Circuit.
    July 8, 1975.
    
      Richard L. Noble (argued), Los Angeles, Cal., for appellants.
      Noble K. Gregory (argued), San Francisco, Cal., for appellees.
      OPINION
      Before WRIGHT, KILKENNY and SNEED, Circuit Judges.
      PER CURIAM:
    
    
      1
      These appeals involve the construction of contracts dealing with the mining of iron ore on the Marcona Plateau, Province of Nazea, Department of Ica, Republic of Peru.  The district court's development of the relevant and material facts in its opinion, Koehler v. Marcona Mining Co. and Cobian v. Marcona Mining Co., 391 F.Supp. 1158 (N.D.Cal.1973), is exceptionally comprehensive and its findings are thoroughly supported by the massive record, consisting, among other things, of fourteen volumes of testimony.
    
    
      2
      We hold that the district court accurately applied the relevant law to the facts.  Accordingly, we affirm the judgments on the basis of the lower court's decision.
    
    